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                            UNITED STATES DISTRICT COURT
                            EASTERN DISTRICT OF MICHIGAN
                                 SOUTHERN DIVISION

 REGINALD DANCY,

                      Petitioner,                   CASE NUMBER: 04-80335
                                                    HONORABLE VICTORIA A. ROBERTS
 v.

 UNITED STATES OF AMERICA,

                 Respondent.
 ________________________________/

         ORDER GRANTING IN PART AND DENYING IN PART PETITION FOR
                     CERTIFICATE OF APPEALABILITY


 I.     INTRODUCTION

        Before the Court is Petitioner’s pro se Petition For Issuance Of Certificate Of

 Appealability (“COA”). For the following reasons, the Court GRANTS the petition in

 part and DENIES it in part.

 II.    BACKGROUND

        On April 29, 2008, the Court entered its Order denying Petitioner’s 28 U.S.C. §

 2255 motion to vacate. He now seeks a COA under 28 U.S.C. § 2253 and FED. R. APP.

 P. 22(b).

        Petitioner’s previous motion alleged one of his two attorneys provided ineffective

 assistance of counsel by: (1) allowing Petitioner to plead to a lesser included offense

 without objection; and (2) failing to object to the Court’s alleged violation of

 FED. R. CRIM. P. 11(b). The Government contends that neither Sixth Amendment claim


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 has merit. The Court denied both claims without a hearing, and Petitioner seeks leave

 to appeal. Thus, Petitioner’s related claim is that the Court abused its discretion in

 failing to hold an evidentiary hearing.

 III.   STANDARD OF REVIEW

        The Petitioner may only appeal if he makes a substantial showing of the denial of

 a constitutional right. 28 U.S.C. § 2253(c)(2); FED. R. APP. P. 22(b). “Where a district

 court has rejected the constitutional claims on the merits, the showing required to satisfy

 § 2253(c) is straightforward: The Petitioner must demonstrate that reasonable jurists

 would find the district court's assessment of the constitutional claims debatable or

 wrong.” Slack v. McDaniel, 529 U.S. 473, 484 (2000). ”A claim can be debatable even

 though every jurist of reason might agree, after the COA has been granted and the case

 has received full consideration, that petitioner will not prevail.” Miller-El v. Cockrell, 537

 U.S. 322, 338 (2003).

        In the Sixth Circuit, the Court must make an individualized determination of each

 claim raised in the petition in considering whether to grant a COA. Murphy v. Ohio, 263

 F.3d 466, 467 (6th Cir. 2001) (per curiam); Settles v. Lafler, No. 06-10496, 2008 U.S.

 Dist. LEXIS 22675, at *4 (E.D. Mich. Mar. 24, 2008). Because it is not clear whether

 Petitioner limits his pro se Petition to his attorney’s failure to object to an alleged double

 jeopardy violation, the Court assumes he also requests a COA on the failure to object to

 the alleged Rule 11 violation. Haines v. Kerner, 404 U.S. 519, 520-521 (1972).

 IV.    ANALYSIS


 A.     Ineffective Assistance of Counsel & Double Jeopardy

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 1.     Hearing


        When reviewing a § 2255 motion in which a factual dispute arises, "the habeas

 court must hold an evidentiary hearing to determine the truth of the petitioner's claims."

 Turner v. United States, 183 F.3d 474, 477 (6th Cir. 1999); Valentine v. United States,

 488 F.3d 325, 333 (6th Cir. 2007). "[T]he burden on the petitioner in a habeas case for

 establishing an entitlement to an evidentiary hearing is relatively light." Turner, 183

 F.3d at 477; Valentine, 488 F.3d at 333. Although more is required than mere

 assertions of innocence, "[a]n evidentiary hearing is required unless the record

 conclusively shows that the petitioner is entitled to no relief." Arredondo v. United

 States, 178 F.3d 778, 782 (6th Cir. 1999) (internal quotations omitted); Valentine, 488

 F.3d at 333. In contrast, "no hearing is required if the petitioner's allegations cannot be

 accepted as true because they are contradicted by the record, inherently incredible, or

 conclusions rather than statements of fact." Arredondo, 178 F.3d at 782 (internal

 quotations omitted); Valentine, 488 F.3d at 333.

        Petitioner implies that his counsel failed to object to the plea for a potential

 lesser-included offense, not because of a strategic decision, but because of

 carelessness. He argues there is no indication counsel made a strategic decision. The

 Government did not submit an affidavit or other evidence supporting a finding that

 Petitioner’s counsel strategically allowed his client to plead to a potential lesser-included

 offense.

        Reasonable jurists could debate whether Petitioner was entitled to an evidentiary

 hearing on this claim. He may appeal the Court’s denial of an evidentiary hearing.

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 2.     Merits


        The Court denied the § 2255 motion to vacate for ineffective assistance of

 counsel because it decided the conduct related to the continuing criminal enterprise

 cocaine charge and the marijuana conspiracy constituted separate conspiracies, and,

 therefore, counsel’s decision to allow Petitioner to plead could not constitute ineffective

 assistance of counsel. United States v. Evans, 951 F.2d 729, 739 (6th Cir. 1991)

 (Nelson, J., concurring); United States v. Dancy, No. 04-80335, 2008 U.S. Dist. LEXIS

 34813, at *6-7 (E.D. Mich. Apr. 29, 2008) (Roberts, J.).

        Reasonable jurists could debate whether the conspiracy charge was a lesser-

 included offense. The inquiry is fact intensive and requires consideration of multiple

 factors. The Court also relied on Evans, a decision reasonable jurists could debate is

 distinguishable.

        However, for the very reason that the status of the conspiracy charge as a lesser

 included offense is debatable, the Court denies the Petition on the substantive claim.

 The objective standard of reasonableness is highly deferential and includes "a strong

 presumption that counsel's conduct falls within the wide range of reasonable

 professional assistance." Mason v. Mitchell, 320 F.3d 604, 616-617 (6th Cir. 2003)

 (quoting Strickland v. Washington, 466 U.S. 668, 689 (1984)). Petitioner failed to

 establish that counsel did not make a strategic choice between these two possibilities.

        Given the debatable classification of the conspiracy offense, counsel’s actions

 were objectively reasonable. Faced with the possibility that the Court might find the

 marijuana conspiracy was not a lesser included offense, counsel allowed Petitioner to

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 plead to an offense that might be a lesser-included offense. As the Government points

 out, Petitioner’s plea agreement ensured that the two charges would not run

 consecutively. Had counsel argued the marijuana conspiracy was a lesser-included

 offense, and lost this argument, Petitioner would likely not have had the benefit of a

 Rule 11 on the second charge, and would have run a substantial risk of a consecutive

 sentence.

 B.     Failure to Object Under FED. R. CRIM. P. 11(b)(1)


 1.     Hearing


        The Court denies leave to appeal its denial of an evidentiary hearing on this

 claim. The resolution of this claim did not turn on any contested facts, and can only be

 determined by review of the plea transcript. Any error on the part of counsel to object to

 a violation of Rule 11(b)(1) cannot be attributed to trail strategy, because it could not

 have benefitted Petitioner.

 2.     Merits


        Petitioner contends that his counsel provided ineffective assistance of counsel,

 and is entitled to relief under § 2255, because counsel failed to object to the Court’s

 alleged failure to comply with FED. R. CRIM. P. 11(b)(1)(G):


        Before the court accepts a plea of guilty or nolo contendere, the defendant
        may be placed under oath, and the court must address the defendant
        personally in open court. During this address, the court must inform the
        defendant of, and determine that the defendant understands, . . . the nature
        of each charge to which the defendant is pleading . . . .



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          The Court denied this claim because: (1) the elements of each count were

 listed in the Rule 11, which included a detailed stipulation of facts underlying each

 charge; (2) at his plea hearing Petitioner acknowledged that he read and reviewed

 the agreement with counsel; (3) at his plea hearing Petitioner gave an abbreviated

 recitation of the factual basis of the charges; and (4) Petitioner did not establish

 more was required under Sixth Circuit precedent.

          The Court’s ruling on this matter, which involves individualized consideration

 of the type and complexity of the charge, and close review of the transcript, is one

 that reasonable jurists could debate. See United States v. Syal, 963 F.2d 900, 904-

 905 (6th Cir. 1992); United States v. Lalonde, 509 F.3d 750, 760-761 (6th Cir.

 2007).

 V.       CONCLUSION


          The Court GRANTS in part and DENIES in part the Petition. The Court

 GRANTS Petitioner a COA on the Court’s: (1) denial of an evidentiary hearing on

 his claim of ineffective assistance of counsel in relation to his plea to a possible

 lesser included offense; and (2) denial of his claim of ineffective assistance of

 counsel for failure to object to an alleged Rule 11 violation. The Court DENIES

 the Petitioner a COA on the Court’s denial of an evidentiary hearing on his claim

 of ineffective assistance of counsel for failure to object to an alleged Rule 11

 violation; and (2) his claim of ineffective assistance of counsel in relation to his

 plea to a possible lesser included offense.

          IT IS ORDERED.

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                                                  S/Victoria A. Roberts
                                                  Victoria A. Roberts
                                                  United States District Judge


 Dated: June 25, 2008


  The undersigned certifies that a copy of this
  document was served on the attorneys of
  record and Reginald Dancy by electronic
  means or U.S. Mail on June 25, 2008.


  s/Carol A. Pinegar
  Deputy Clerk




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